     Case 1:12-cv-00335-LPS Document 19 Filed 04/09/13 Page 1 of 1 PageID #: 110




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

     DATA CARRIERS, LLC,                                   )
                                                           )
                            Plaintiff,                     )
                                                           )
              v.                                           )
                                                           )     C.A. No. 12-335 LPS
     HTC AMERICA, INC.,                                    )
                                                           )
                            Defendant.                     )
                                                           )

                              ORDER OF DISMISSAL WITH PREJUDICE

              CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

     Prejudice of all claims by Plaintiff Data Carriers, LLC and Dismissal Without Prejudice of all

     counterclaims by Defendant HTC America, Inc. in this case, and the Court being of the opinion



I    that said motion should be GRANTED, it is hereby

              ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by

     Plaintiff Data Carriers, LLC against Defendant HTC America, Inc. are hereby DISMISSED

     WITH PREJUDICE, and all counterclaims by Defendant HTC America, Inc. against Plaintiff are

     hereby DISMISSED WITHOUT PREJUDICE, subject to the terms of that certain agreement

     entitled "SETTLEMENT AND LICENSE AGREEMENT" and dated February 27,2013.

              It is further ORDERED that all attorneys' fees, costs, and expenses are to be borne by the

     party that incurred them.


:t            SO ORDERED this     _t      day of   4~ ; \           '2013.


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